Case 3:18-mc-80139-MMC Document17-2 Filed 10/31/18 Page 1of 3

Exhibit B

 

 
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Subject: Fw: FBI report naming Planet Aid

From: Kristine Alonge (k.alonge@sbcglobal.net)
To: Ron.Croushorn @fas.usda.gov;
Ce: is © yahoo.com;

Date: Friday, November 18, 2011 10:08 AM

Mr Croushorn,

| was quite surprised to receive an email from you. And | spent hours trying write back. But there simple aren't words to
describe how | feel about your continued support of Planet Aid.

If you wrote to try to convince me that my efforts of fighting Tvind are pointless, you have failed. You seriously
underestimate my knowledge and my resolve. But if you have written in an attempt to mend fences and open possible
dialog, then | am willing to heip you. But make no mistake; | will only help you because my desire to evict Tvind from the
USA is greater than my contempt for the USDA.

| wrote to one of your co-workers, Linda C. Habenstreit, over a year ago concerning misconceptions she had over Planet
Aid and Tvind. | sent a copy of that letter to you and Judith Phillips but never received a response from any of you, so |
must conclude that your sincerity in this matter is questionable. Attached is a copy of that very letter.

You are at a crossroads. You can either continue to believe the Planet Aid / Tvind propaganda, or you can look at the
undeniable facts and realize that the USDA was negligent in funding Planet Aid.

| will be gone for a while, so | will not be able to respond by e-mail. If you need to talk to me, my phone number isaaas>
2 ae

Kris Alonge

PS: it's not the mistake that gets you in trouble, it's the cover-up. You might want to think about that.
--- On Fri, 11/18/11, Kristine Alonge <k.alonge@sbcglobai.net> wrote:

From: Kristine Alonge <k.alonge@sbcglobal.net>
Subject: FBI report naming Planet Aid

To: <<a @worldsoyfoundation.org
Cc: gi Qworlidsoyfoundation.org

Date: Friday, November 18, 2011, 3:39 PM

Vi Sere

| spoke with you last March about Tvind/Teachers Group and their so-called charity branch,
Humana People to People. At that time the WSF had spoken with Marie Lichtenberg (of
Humana) and had tentative plans to donated soy products to Humana. | am so grateful that
you chose to cancel those plans.

| know that it was a hard decision, and that there was probably some lingering doubts, but
you did do the right thing.

 

about:blank Page 1 of 2

 
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Print Case 3:18-mc-80139-MMC Document17-2 Filed 10/31/18 Page 3 of 3 8/20/18, 9:17 PM

government had asked for the FBI's help in located several Teachers Group members,
including the leader, Amdi Pedersen, who was living in Miami at the time....a multi-million
dollar condo purchased through shell companies with pilfered cash.

| thought you might like to see this report since it mentions Planet Aid and Humana People
to People as Tvind operations in the USA. Even though the USDA and USAID continue to
side with Planet Aid in denying the connections to Tvind, there is no doubt of what the
Danish government knows or what our own FBI knows. | can only hope that the USDA will
wise up as you did, and stop funding the horrible group.

A few months ago | sent for the FBI file (attached) on Tvind. Back in 2001 the Danish

You may be wondering why the FBI has not taken any action against Planet Aid (or any of
the other Tvind groups here in the USA). | had that same question. They interviewed me a
few weeks ago, and their answer to that question was very disheartening. According to the
agents that | spoke to, there is very little funding tin the FBI's budget to investigate white
collar crimes such as this. Almost everything is used to identify terrorism and illegal drugs.
Though | uunderstand the need to prioritize, it still does not take away from the fact that
Planet Aid, and the other Tvind groups, have managed to deceive our government and
citizens out of more that $300 million since 1999....and that's just the funding that | can
identify. God only knows what the total really is.

But | do what | can, and | tread along, and | will always be grateful that the World Soy
Foundation did the right thing and chose not to fund Tvind.

Thank you.
Kris Alonge
Attachments

 

 

e FBI file on Tvind 2001 .pdf (3.08MB)
e USDA letter Nov 2010.pdf (97.69KB)

about:blank Page 2 of 2
